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 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, ISRAEL CAVAZOS
 5
 6                  IN THE UNITED STATES DISTRICT COURT FOR THE
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )                CASE NO. 1:07-CR-00192-AWI
                                 )
10        Plaintiff,             )
                                 )                STIPULATION TO MODIFY
11       v.                      )                CONDITIONS OF PRETRIAL RELEASE
                                 )
12   ISRAEL CAVAZOS,             )
                                 )
13        Defendant.             )
     ____________________________)
14
           The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the conditions of release set by the court for defendant Israel Cavazos
16
     in the instant action be modified to vacate the condition requiring Mr. Cavazos to
17
     seek and maintain gainful employment.
18
           This modification of the conditions of release are not opposed by Mr.
19
     Cavazos’ Pretrial Services officer.
20
           All other terms and conditions of Mr. Cavazos’ pretrial release will remain in
21
     full force and effect.
22
23   DATED: June 10, 2008                  /s/ Kathleen Servatius      __
                                           KATHLEEN SERVATIUS
24                                         Assistant United States Attorney
                                           This was agreed to by Ms. Servatius
25                                         in person on June 10, 2008
26
     DATED: June 10, 2008                  /s/ Roger K. Litman    __
27                                         ROGER K. LITMAN
                                           Attorney for Defendant
28                                         ISRAEL CAVAZOS

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 1   IT IS SO ORDERED.
 2   Dated:   June 13, 2008                 /s/ Anthony W. Ishii
     0m8i78                           UNITED STATES DISTRICT JUDGE
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